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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

  The State of Texas, et al.,

                          Plaintiffs,                  Case No. 4:20-cv-00957-SDJ

  v.                                                   Hon. Sean D. Jordan

  Google LLC,
                                                       Special Master: David T. Moran
                          Defendants.


                                               ORDER

          Before the Special Master is Plaintiff States’ (“States’”) MOTION TO COMPEL

 PRODUCTION OF EXPERT REPORTS AND BRIEF REGARDING DISCOVERY INTO

 GOOGLE’S PRIVACY SANDBOX, along with subsequent related briefing and exhibits filed by

 the parties.

          Having considered the parties’ briefing and exhibits thereto, it is ORDERED that

 Defendant Google LLC:

       a. immediately produce all expert reports from the Virginia Action, U.S. et al. v. Google LLC,

          No. 1:23-cv-108-LMB-JFA (EDVA); and

       b. immediately produce the requested documents and witness concerning Google’s Privacy

          Sandbox and Google Chrome.

 IT IS SO ORDERED.




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